Case 1:03-cr-00304-CBA   Document 655   Filed 05/20/05   Page 1 of 6 PageID #: 2565
Case 1:03-cr-00304-CBA   Document 655   Filed 05/20/05   Page 2 of 6 PageID #: 2566
Case 1:03-cr-00304-CBA   Document 655   Filed 05/20/05   Page 3 of 6 PageID #: 2567
Case 1:03-cr-00304-CBA   Document 655   Filed 05/20/05   Page 4 of 6 PageID #: 2568
Case 1:03-cr-00304-CBA   Document 655   Filed 05/20/05   Page 5 of 6 PageID #: 2569
Case 1:03-cr-00304-CBA   Document 655   Filed 05/20/05   Page 6 of 6 PageID #: 2570
